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     9
                                          UNITED STATES DISTRICT COURT
    10                                   CENTRAL DISTRICT OF CALIFORNIA
    11
    12       Samuel Love,                             Case No.: 5:15-CV-01700-ODW-DTB
    13                 Plaintiff,
                v.                                    PLAINTIFF’S PROPOSED FINDINGS
    14
                                                      OF FACT AND CONCLUSIONS OF
    15       Jose M. Sanchez;
             Maria B. Sanchez;                        LAW
    16       and Does 1-10,

    17                 Defendants.                    Trial Date: January 3, 2017
    18                                                Time: 9:00 a.m.

    19
                                                       Complaint Filed: August 24, 2014
    20
    21                                                 Honorable Judge Otis D. Wright, II

    22
    23
    24            Pursuant to this Court’s December 16, 2015 Scheduling and Case
    25
          Management Order and Central District Local Rule 52-1, the plaintiff submits his
    26
          Proposed Findings of Fact and Conclusions of Law:
    27
    28

                                                  1
          Plaintiff’s Proposed Findings of Fact
          and Conclusions of Law                           5:15-CV-01700-ODW-DTB
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     1    Following bench trial, the Court makes the following FINDINGS OF
     2    FACT:
     3       1. Plaintiff Samuel Love cannot walk and uses a wheelchair for mobility.
     4       2. Mary’s Beauty Salon (“Salon”) is located at 3739 Rubidoux Blvd.,
     5            Riverside, California.
     6
             3. Defendants Jose M. Sanchez and Maria B. Sanchez owned Mary’s
     7
                  Beauty Salon and the real property where the Salon is located, in
     8
                  September 2013.
     9
             4. Defendants Jose M. Sanchez and Maria B. Sanchez currently own
    10
                  Mary’s Beauty Salon and the real property where the Salon is located.
    11
             5. Mr. Lopez went to the Store in September 2013to inquire about the
    12
    13
                  services offered at the Salon.

    14       6. Mary’s Beauty Salon is open to the public.

    15       7. Mary’s Beauty Salon is a business establishment.
    16       8. Parking spaces are one of the facilities, privileges and advantages
    17            offered by the defendant to the customers of the Store.
    18       9. On September 29, 2013, there was not a single parking space
    19            designated for use by persons with disabilities. There was no parking
    20            space with an adjacent access aisle, no signage indicating disabled
    21
                  parking, no “NO PARKING” lettering in any space, and no International
    22
                  Symbol of Access in any space.
    23
             10. Mr. Love needs a parking space with an access aisle to ensure that he has
    24
                  enough room to get in and out of his vehicle and assemble his
    25
                  wheelchair. Mr. Love also needs a space with the proper signage and
    26
                  markings so that it is clear to non-disabled patrons that it is only for
    27
    28
                  handicap persons to use.

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          Plaintiff’s Proposed Findings of Fact
          and Conclusions of Law                             5:15-CV-01700-ODW-DTB
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     1       11. Due to the lack of a disabled parking space with an access aisle, Mr. Love
     2            was deterred from visiting the Salon. This inaccessible condition
     3            caused Mr. Love difficulty, discomfort, and frustration.
     4       12. On March 14, 2015, Mr. Love returned to the Salon but found that
     5            the same barriers existed.
     6       13. Mr. Love lives within 30 minutes from the Salon and would like the
     7            ability to safely and independently park and patronize the Salon.
     8       14. Sometime subsequent to March 2015, a designated accessible
     9            parking space for persons with disabilities was installed at the Salon.
    10
             15. On July 12, 2016, Plaintiff’s expert Janis Kent conducted a site
    11
                  inspection of the Salon and found that the parking stall and the access
    12
                  aisle measured only 13’-3½” in length, until it reaches the asphaltic
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                  concrete in the alley. The parking stall measured only 8’-11”. The
    14
                  California Tow-away signage was missing. The California Minimum
    15
                  Fine sign does not state “MINIMUM FINE $250.” Instead it states ‘up
    16
    17
                  to $200 fine for violation’. Further, a portion at the head of the stall had

    18            cross slopes measuring 2.3%, 2.5%, 2.6% and a portion at the head of

    19            the access aisle had cross slopes measuring 2.2%.
    20      16. Providing an accessible parking that is compliant with ADAAG in the
    21         Salon is readily achievable for Defendants.
    22
    23    Following bench trial, the Court makes the following CONCLUSIONS OF
    24    LAW:
    25        1. Plaintiff Samuel Love is a person with disabilities, as contemplated by
    26            the Americans with Disabilities Act, and has standing to sue under the
    27            laws pled in this case. 42 U.S.C. § 12102(1)(A).
    28

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          Plaintiff’s Proposed Findings of Fact
          and Conclusions of Law                               5:15-CV-01700-ODW-DTB
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     1        2. Defendants own, lease, and/or operate a facility that is a place of public
     2            accommodation and, therefore, governed by Title III of the Americans
     3            with Disabilities Act. 42 U.S.C. § 12182(a).
     4
              3. Parking spaces are one of the facilities, privileges, and/or advantages
     5
                  Defendants offer customers of Mary’s Beauty Salon.
     6
              4. Defendants’ did not fulfill the requirement to provide an accessible
     7
                  parking at the Salon. Therefore, Defendants’ facility had unlawful
     8
                  architectural barriers. 42 U.S.C. § 12182(b)(2)(A)(iv); see Chapman v.
     9
                  Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011)
    10
    11
                  (Architectural barriers are defined by the Americans with Disabilities

    12            Act Accessibility Guidelines).

    13        5. Removal of the unlawful architectural barriers is presumed to be readily
    14            achievable. 28 Code of Federal Regulations 36.304(b)(18).
    15      6. Mr. Love encountered the unlawful architectural barriers, which
    16          precluded his full and equal access to the facility. 42 U.S.C. § 12188(a);
    17          Boemio v. Love’s Restaurant, 954 F.Supp. 204, 208 (S.D. CA 1997)
    18          (“The standard cannot be is access achievable in some manner. We must
    19
                focus on the equality of access.”); Chapman v. Pier 1 Imports (U.S.) Inc.,
    20
                supra, 631 F.3d at 945 (“The ADAAG provides the objective contours of
    21
                the standard that architectural features must not impede disabled
    22
                individuals’ full and equal enjoyment of accommodations.”).
    23
            7. Therefore, Defendants violated the Americans with Disabilities Act by
    24
                discriminating against Mr. Love “on the basis of a disability in the full and
    25
    26
                equal enjoyment” of the “facilities, privileges, [and/or] advantages” of

    27          their “place of public accommodation.” 42 U.S.C. § 12182(a).

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          Plaintiff’s Proposed Findings of Fact
          and Conclusions of Law                              5:15-CV-01700-ODW-DTB
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     1      8. Defendants violated California’s Unruh Act by violating the Americans
     2          with Disabilities Act. Civ. Code § 51(f).
     3      9. Mr. Love is entitled to recover up to three times his actual damages, but
     4
                in no case less than $4,000. Cal. Civ. Code §§ 52(a), 55.56(a)-(c).
     5
            10. Mr. Love is entitled to recover reasonable attorney fees, litigation
     6
                expenses, and costs of suit. 42 U.S.C. § 12205; Cal. Civ. Code §§ 52,
     7
                54.3; Cal. Civ. Proc. § 1021.5.
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     9
    10
          December 21, 2016                           CENTER FOR DISABILITY ACCESS
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    12
                                                      By: /s/ Chris Carson
    13                                                CHRIS CARSON
                                                      Attorneys for Plaintiff
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          Plaintiff’s Proposed Findings of Fact
          and Conclusions of Law                                5:15-CV-01700-ODW-DTB
